 Case 1:17-cv-00613-JTN-ESC ECF No. 19 filed 11/04/17 PageID.146 Page 1 of 3



                                UNITED STATES OF AMERICA
       IN THE WESTERN DISTRICT OF MICHIGAN – SOUTHERN DIVISION
Derek Antol, individually and as next friend of           File No: 1:17-cv-613
DSA, a minor, DSAII, a minor, and Tryston Antol,
      Plaintiffs,
v.
Adam Dent, Kate Strauss,                            Hon.
Casey Bringedahl, Casey Trucks,                     U.S. District Court Judge
Pete Kutches, and Western Michigan
Enforcement Team, a public
body organized under the laws of the
State of Michigan,
        Defendants,
___________________________________________________________________/
J. Nicholas Bostic (P40653)          Allan C. Vander Laan (P33893)
Attorney for Plaintiffs              Curt A. Benson (P38891)
909 N. Washington Ave.               Cummings, McClorey, Davis & Acho
Lansing MI 48906                     Attorneys for Defendants Adam Dent,
517-706-0132                         Kate Strauss, Casey Bringedahl & Peter Kutches
                                     2851 Charlevoix Dr., S.E. - Suite 327
John G. Fedynsky (P65232)            Grand Rapids MI 49546
Assistant Attorney General           616-975-7470
Michigan Dep’t of Attorney General   avanderlaan@cmda-law.com
Attorney for Defendant Casey Trucks
525 W. Ottawa St., P.O. Box 30736
Lansing, MI 48909
(517) 373-6434
FedynskyJ@michigan.gov
                                                                               /


                         APPLICATION FOR ENTRY OF DEFAULT

       Plaintiffs, for their application, state:

       1. The complaint [R 1, PageID#1] and summons [R. 6, PageID#27] were served on

Defendant Western Michigan Enforcement Team (WEMET) by personal service on the team

leader, Lt. Andy Fias, on October 12, 2017. Return, R. 14, PageID#107.

       2. As of November 4, 2017, Defendant WEMET has failed to appear, plead, or otherwise

defend as required by Fed.R.Civ.P. 12(a)(1)(A)(i).

                                                   1
 Case 1:17-cv-00613-JTN-ESC ECF No. 19 filed 11/04/17 PageID.147 Page 2 of 3



       4. More than 21 days have passed and Defendant WEMET has failed to appear, plead or

otherwise defend as required by Fed. R. Civ. P. 12(a)(1)(A)(ii).

       5. Pursuant to Fed. R. Civ. P. 55(a), Plaintiffs request the Clerk to enter the default of

Defendant WEMET.

       6. Upon information and belief, Defendant WEMET is an entity and is not in the active

military service.

       7. Defendant WEMET is a public body organized under the laws of the State of

Michigan.

       WHEREFORE, Plaintiffs respectfully request the Clerk enter the default of Defendant

WEMET for failure to appear, plead or otherwise defend as provided by law.

Dated: 11/4/2017                                     /s/ J. Nicholas Bostic
                                                     J. Nicholas Bostic (P40653)
                                                     Attorney for Plaintiff
                                                     909 N. Washington Ave.
                                                     Lansing, MI 48906
                                                     (517) 706-0132

                              CLERK’S ENTRY OF DEFAULT

       The default of Defendant WEMET for failure to appear, plead or otherwise defend is

entered.

_________                                            _________________________________
Date                                                 Court Clerk




                                                 2
 Case 1:17-cv-00613-JTN-ESC ECF No. 19 filed 11/04/17 PageID.148 Page 3 of 3



                                CERTIFICATE OF SERVICE

       I, J. Nicholas Bostic, certify that, on November 4, 2017, I served Application for Entry of

Default electronically by using the Court’s electronic filing system which will send notice of

filing to all counsel of record and to WEMET at the address of service by first class mail by

placing same in a postal receptacle at Lansing, Michigan with postage affixed. I declare that the

above statement is true to the best of my information, knowledge and belief.



Dated: 11/04/2017                                    /s/ J. Nicholas Bostic
                                                     J. Nicholas Bostic
                                                     Attorney for Plaintiff
                                                     909 N. Washington Ave.
                                                     Lansing, MI 48906
                                                     517-706-0132




                                                3
